Case 1:16-cv-01580-CMH-JFA Document 141 Filed 11/13/17 Page 1 of 1 PageID# 8140




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


                            Alexandria Division



 HALOZYME, INC.,

       Plaintiff,



 V.                                   Civil Action No. l:16-cv-1580



 JOSEPH MATAL,

       Defendant.



                                    ORDER


       THIS MATTER comes before the Court on Plaintiff's Motion to

 Bring Technology To and Use It During Trial.          It is hereby

       ORDERED that Plaintiff's Motion is DENIED.




                                          CLAUDE M. HILTON
                                            UNITED STATES DISTRICT JUDGE


 Alexandria, Virginia
 November /? , 2017
